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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



       Jovo, Inc.                        CIVIL ACTION NO.
                                         ________________

                    Plaintiff,

                          v.                COMPLAINT FOR
                                            INJUNCTIVE AND
                                          MONETARY RELIEF AND
                                           DEMAND FOR JURY
                                                 TRIAL
       My Pillow, Inc.

                    Defendant.



                                 COMPLAINT


      Plaintiff Jovo, Inc. (hereinafter “Jovo”), a Georgia corporation, by its

undersigned attorneys, sues Defendant My Pillow, Inc. (hereinafter “My Pillow”),

and alleges as follows:

                                  PARTIES




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      1.       Plaintiff, Jovo, Inc. is a Georgia corporation, selling pillows with its

principal place of business in Woodstock, Georgia.

      2.       Upon information and belief, Defendant, My Pillow, is a Minnesota

corporation with its principal place of business in Chaska, Minnesota.

                           JURISDICTION AND VENUE

      3.       This action arises under the Lanham Act of the United States, 15 U.S.C.

§ 1051 et seq. and the common law of the Georgia as a result of Defendant’s

infringement of the Plaintiff’s registered and common law trademarks and service

mark rights, and other unlawful activities conducted by Defendant in connection

with such infringement.

      4.       This Court has jurisdiction over the subject matter of this action

pursuant to 15 U.S.C. § 1121, 28 U.S.C. § 1331, 1367 and 1338, and the doctrine of

pendent and ancillary jurisdiction.

      5.       This Court has personal jurisdiction over Defendant because it: (a)

regularly conducts business and transacts business within the State of Georgia; and

(b) has committed acts of trademark and service mark infringement in the State of

Georgia causing injury within the State of Georgia.




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      6.       Venue is proper in this District and this Court pursuant to 28 U.S.C. §

1391(b)

                             FACTUAL BACKGROUND
                  Plaintiff and its Trademarks and Service Marks

      7.       Since as early as 2015, Plaintiff has been selling pillows under the

trademark MOST VERSATILE PILLOW (MVP)®. Plaintiff has sold these goods

under its registered trademark continuously and without interruption, since 2015 and

through the present.

      8.       Plaintiff’s success is due substantially to its branding and the quality

control exercised over the use of its marks. In order to protect what it considers one

of its most valuable assets, namely, the name of its pillow products, Plaintiff filed

for and obtained federal trademark and service mark registrations for its marks from

the United States Patent and Trademark Office. Plaintiff is the owner of the MOST

VERSATILE PILLOW (MVP)® trademark which is registered on the Principal

Register of the United States Patent and Trademark Office (the “Registration”).

      9.       On November 13, 2014, Plaintiff filed a federal trademark application

(U.S. Ser. No. 86/453,394) for the mark MOST VERSATILE PILLOW (MVP)® as

used in connection with pillows in Intl. Class 20, and with a date of first use of at




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least as early as September 10, 2015. The Registration issued on May 5, 2015, U.S.

Registration Number 4,878,511.

      10. The Registration is valid, continuing and constitutes prima facie evidence

of Plaintiff’s ownership of the Trademark and the Registration, the validity of the

Trademark and Registration and of Plaintiff’s exclusive rights to use the Trademark

in commerce on and in connection with the goods and services recited in the

Registration. A true and correct copy of the United States Patent and Trademark

Office certificate of registration for the Trademark is attached hereto as Exhibit “A”

and incorporated herein by this reference. The registration constitutes conclusive

evidence of Plaintiff’s exclusive rights to use said mark in connection with its goods.

      11.     In addition to Plaintiff’s registered Trademark, through continuous and

exclusive use of the Trademark, Plaintiff has acquired common law trademark rights

in the Trademark.

      12.    Plaintiff acquired its common law rights and registration in the

Trademark years prior to the acts of Defendant complained of herein.

      13.    Plaintiff has expended a great deal of time, effort and money in the

promotion and advertisement of its Goods offered for sale and sold in connection

with the Trademark.




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      14.   Plaintiff’s growth and success is due in large part to the public’s

recognition of the high quality goods and services Plaintiff provides under the

Trademark. Based in part on this value, Plaintiff is continually expanding its

business and offers its Goods online throughout the United States.

      15.   As a direct result of Plaintiff’s efforts, the general public associates the

Trademark, when used by Plaintiff, as identifying Plaintiff as the single source of

the goods and services sold and offered for sale under the Trademark. The

Trademarks distinguish Plaintiff’s goods from products offered by others. Without

question, the Trademark is unique. As a result of the widespread and continuous use

and promotion of the Trademark, it is distinctive and/or have acquired secondary

meaning in the minds of customers.

      16.   Also as a result of Plaintiff’s widespread and continuous use and

promotion of the Trademark on pillows, the Trademark has become widely known

and recognized as identifying Plaintiff as the source of its goods. The Trademark

represents and embodies the enviable reputation and very valuable goodwill of

Plaintiff among members of the trade and the purchasing public.

                                     Defendants




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      17.    Upon information and belief, Defendant is a large national corporation

that has begun using the mark GUARANTEED THE MOST VERSATILE PILLOW

YOU’LL EVER OWN, which has caused and will cause confusion in the

marketplace and infringes upon Plaintiff’s rights. Defendant receives a direct benefit

from the infringing activities. A copy of Defendant’s website home page and

advertising is identified as Exhibit “B” and attached hereto, and Defendant’s

television advertisements that include the infringing mark may be viewed at the

following links:

      a)    https://www.ispot.tv/ad/I060/my-pillow-roll-and-goanywhere-best-
      day-ever

      b)     https://www.ispot.tv/ad/nIo7/my-pillow-roll-and-goanywhere-same-
             comfort-and-support


      18.    Upon information and belief, customers located in Georgia have

ordered pillows from Defendant, and those pillows have been shipped to addresses

located in Georgia. In one instance, a pillow was purchased by a Georgia resident

who ordered the pillow online and had it delivered to her Georgia address. (Please

see Affidavit of Ms. Teresa Frost, filed herewith as Exhibit “C”).




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                  Trademark and Service Mark Infringement

      19.    Prior to filing this lawsuit, Plaintiff demanded in writing that Defendant

cease using the Trademark and contact Plaintiff to coordinate an immediate

cessation of all uses of the Trademark. Plaintiff sent cease and desist letters on May

7, 2019 and April 9, 2020. Copies of Plaintiff’s letters are identified as Exhibit “D”

and attached hereto.

      20.    Plaintiff received an email response to its May 7, 2019 letter on June 5,

2019 from Mr. Joseph Springer, who appears to serve as General Counsel for

Defendant. Mr. Springer assured Plaintiff that the phrase “it will be the most

versatile pillow you’ll ever own” was “used as part of a sentence and not used as a

trademark or tagline,” and that Defendant had “revamped the commercial and

removed the ‘most versatile pillow’ phrase.” Defendant’s response is attached hereto

as Exhibit “E”.

      21.    Contrary to the assurances of Defendant’s General Counsel, Defendant

continued to use the mark GUARANTEED THE MOST VERSATILE PILLOW

YOU’LL EVER OWN on its website and advertising, and further, uses the registered

trademark symbol ® alongside that mark, even though that mark is not registered at

the US Patent and Trademark Office.




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      22.    Defendant’s unauthorized use of the Trademark creates a likelihood of

confusion, mistake, and deception as to the source and sponsorship of their goods

and services such that consumers are likely to believe, contrary to fact, that

Defendant’s business is associated or affiliated with Plaintiff and that Defendant’s

business is an authorized licensee, which it is not, all to Plaintiff’s irreparable loss

and damage. In addition, Defendant’s acts complained of herein injure Plaintiff’s

valuable goodwill and well established business reputation.

      23.    Defendant’s actions were and continue to be taken in willful and

malicious disregard of Plaintiff’s rights.

      24.    Defendant’s infringing activities have caused Plaintiff monetary harm.

      25.    Defendant’s unauthorized use of Plaintiff’s Trademarks is a deceptive

practice that has an adverse impact on the public interest.

      26.    By virtue of Defendant’s actions described herein, Plaintiff is being

irreparably harmed and does not have an adequate remedy at law because Plaintiff’s

special interest in protecting the integrity of the Trademark and in preventing

customer confusion are being seriously threatened. Actual confusion of purchasers

is likely to occur in the future unless Defendant is enjoined from continuing its

unlawful conduct. Plaintiff’s irreparable injury also includes, without limitation,




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harm to the value of its goodwill and business reputation and its ability to exclusively

maintain its Trademark to the exclusion of all others. Defendant is also irreparably

harming the ability of Plaintiff to maintain its relationships with its existing and

identifiable prospective customers.

      27.     Plaintiff is likely to succeed on the merits of its claims. Any harm to

Defendant if injunctive relief is granted would be outweighed by the harm that would

result to Plaintiff if injunctive relief is not granted. The public interest would be

served by the granting of injunctive relief

      28.    Plaintiff has hired the undersigned law firms and obligated itself to pay

a reasonable attorneys’ fee.

      29.    All conditions precedent to the bringing of this action has occurred,

have been performed, have been fulfilled, or have been waived.

                        COUNT I
      FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. § 11141)

      30.    Plaintiff repeats and realleges each and every allegation of paragraphs

1 through 29 above as if fully set forth herein.

      31.    This count is for infringement of a federally registered trademark in

violation of the Lanham Act, 15 U.S.C. § 1051-1129.




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      32.   The acts of Defendant complained of herein constitute trademark

infringement of Plaintiff’s federally registered Trademark, as depicted in the

Registration, in violation of 15 U.S.C. § 1114-1118.

      33.   By virtue of the foregoing conduct and as a proximate result there from,

Plaintiff has been damaged.

      WHEREFORE, Plaintiff Jovo, Inc. demands judgment against Defendant

My Pillow, Inc., as follows:

            (a)    A declaration that Plaintiff is the owner of the entire right, title,
                   and interest in and to the Trademark and Registration;
            (b)    A declaration that Plaintiff’s rights in the Trademark and
                   Registration are valid, enforceable, and have been infringed by
                   Defendant, and that Defendant has violated other relevant federal
                   laws and regulations;
            (c)    Pursuant to 15 U.S.C. § 1116(a), a preliminary injunction, and
                   upon final hearing a permanent injunction, enjoining Defendant,
                   its agents, employees and any persons acting in concert with
                   Defendant, from: (i) improperly using or misappropriating,
                   directly or indirectly, the Trademark or any colorable imitation
                   thereof or mark confusing similar thereto; (ii) holding
                   themselves out to the public as being an authorized Plaintiff
                   licensee or as being affiliated with or sponsored by Plaintiff in
                   any manner or committing any acts likely to imply such a
                   relationship or affiliation; (iii) passing off their products and
                   services as originating with or sponsored or authorized by
                   Plaintiff; and (iv) otherwise infringing Plaintiff’s rights in the
                   Trademark and Registration and competing unfairly with
                   Plaintiff;




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             (d)    Pursuant to 15 U.S.C. § 1116(a) and 1118, an order requiring
                    Defendant to deliver up to Plaintiff for destruction all signs,
                    advertisements, literature, business forms, cards, labels,
                    packages, wrappers, pamphlets, brochures, receptacles, point of
                    sale displays, and any other products in their possession or under
                    their control, as well as any products which bear any Trademarks
                    or marks owned by Plaintiff or any colorable imitation thereof or
                    any mark confusingly similar thereto and any plates, molds and
                    other means of making the same;
             (e)    Pursuant to 15 U.S.C. § 1116(a), a preliminary injunction, and
                    upon final hearing a permanent injunction, ordering Defendant
                    to notify all of their existing and prospective customers of the
                    Court’s Order;
             (f)    Pursuant to 15 U.S.C. § 1116 (a), an order requiring Defendant
                    to file with this Court and serve on Plaintiff within thirty (30)
                    days after the entry of an injunction in this cause, a written report
                    under oath setting forth in detail the manner and form in which
                    Defendant has complied with the injunction;
             (g)    Actual and consequential damages proximately caused by
                    Defendant’s actions including, without limitation, Defendant’s
                    profits and any damages sustained by Plaintiff pursuant to 15
                    U.S.C. § 1117(a);
            (h)     A trebling of all damages awarded pursuant to 15 U.S.C. §
      1117(a);
            (i)     Plaintiff’s attorneys’ fees pursuant to 15 U.S.C. § 1117(a);
            (j)     Prejudgment interest and the costs of this action; and
            (k)     Such further relief as this Court deems proper.

                             COUNT II
            FALSE DESIGNATION OF ORIGIN (15 U.S.C. S 1125(a)

      34.    Plaintiff repeat and reallege each and every allegation of paragraphs 1

through 33 above as if fully set forth herein.




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      35.    This count is for infringement of common law trademark rights and

unfair competition in violation of the Lanham Act, 15 U.S.C. § 1051-1129.

      36.    Through continuous and exclusive use of the Trademark, Plaintiff has

acquired common law rights in its Trademark. Plaintiff possesses common law rights

in the same geographic areas that Defendant operates. Plaintiff’s common law

Trademark rights were established across the southeastern United States, and

particularly in the State of Georgia, before Defendant first advertised and sold its

infringing goods within the State of Georgia.

      37.    Defendant’s acts set forth above are likely to cause confusion, or to

cause mistake, or to deceive as to the affiliation, connection, or association of

Defendant with Plaintiff, or as to the origin, sponsorship, or approval of Defendant’s

goods and services, in violation of 15 U.S.C. § 1125(a).

      38.    By virtue of the foregoing conduct and as a proximate result there from,

Plaintiff has been damaged.

      WHEREFORE, Plaintiff Jovo, Inc. demands judgment against Defendant

My Pillow, Inc., as follows:

             (a)   A declaration that Plaintiff is the owner of the entire right, title,
                   and interest in and to the Trademark and Registration;




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    (b)   A declaration that Plaintiff’s rights in the Trademark and
          Registration are valid, enforceable, and have been infringed by
          Defendant, and that Defendant has violated other relevant federal
          laws and regulations;
    (c)   Pursuant to 15 U.S.C. § 1116(a), a preliminary injunction, and
          upon final hearing a permanent injunction, enjoining Defendant,
          its agents, employees and any persons acting in concert with
          Defendant, from: (i) improperly using or misappropriating,
          directly or indirectly, the Trademark or any colorable imitation
          thereof or mark confusing similar thereto; (ii) holding
          themselves out to the public as being an authorized Plaintiff
          licensee or as being affiliated with or sponsored by Plaintiff in
          any manner or committing any acts likely to imply such a
          relationship or affiliation; (iii) passing off their products and
          services as originating with or sponsored or authorized by
          Plaintiff; and (iv) otherwise infringing Plaintiff’s rights in the
          Trademark and Registration and competing unfairly with
          Plaintiff;
    (d)    Pursuant to 15 U.S.C. § 1116(a) and 1118, an order requiring
          Defendant to deliver up to Plaintiff for destruction all signs,
          advertisements, literature, business forms, cards, labels,
          packages, wrappers, pamphlets, brochures, receptacles, point of
          sale displays, and any other products in their possession or under
          their control, as well as any products which bear any Trademarks
          or marks owned by Plaintiff or any colorable imitation thereof or
          any mark confusingly similar thereto and any plates, molds and
          other means of making the same;
    (e)   Pursuant to 15 U.S.C. § 1116(a), a preliminary injunction, and
          upon final hearing a permanent injunction, ordering Defendant
          to notify all of their existing and prospective customers of the
          Court’s Order;
    (f)   Pursuant to 15 U.S.C. § 1116 (a), an order requiring Defendant
          to file with this Court and serve on Plaintiff within thirty (30)
          days after the entry of an injunction in this cause, a written report




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                    under oath setting forth in detail the manner and form in which
                    Defendant has complied with the injunction;
             (g)    Actual and consequential damages proximately caused by
                    Defendant’s actions including, without limitation, Defendant’s
                    profits and any damages sustained by Plaintiff pursuant to 15
                    U.S.C. § 1117(a);
            (h)     A trebling of all damages awarded pursuant to 15 U.S.C. §
      1117(a);
            (i)     Plaintiff attorneys’ fees pursuant to 15 U.S.C. § 1117(a);
            (j)     Prejudgment interest and the costs of this action; and
            (k)     Such further relief as this Court deems proper.


                      COUNT III
     COMMON LAW TRADEMARK INFRINGEMENT AND UNFAIR

                                  COMPETITION

      39.    Plaintiff repeats and realleges each and every allegation of paragraphs

1 through 38 above as if fully set forth herein.

      40.    This count is for trademark infringement and unfair competition under

the common laws of the State of Georgia.

      41.    Through continuous and exclusive use of the Trademark, Plaintiff has

acquired common law rights in its Trademark. Plaintiff possesses common law rights

in the same geographic areas that Defendant sells its products.

      42.    Defendant’s acts set forth above are likely to cause confusion, or to

cause mistake, or to deceive as to the affiliation, connection, or association of




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Defendant with Plaintiff, or as to the origin, sponsorship, or approval of Defendant’s

goods and services, in violation of the common laws of the State of Georgia.

      43.    By virtue of the foregoing conduct and as a proximate result there from,

Plaintiff has been damaged.

      WHEREFORE, Plaintiff Jovo, Inc. demands judgment against Defendant

My Pillow, Inc., as follows:

             (a)   A declaration that Plaintiff is the owner of the entire right, title,
                   and interest in and to the Trademark;
             (b)   A declaration that Plaintiff’s rights in the Trademark are valid,
                   enforceable, and have been infringed by Defendant, and that
                   Defendant has violated other relevant federal laws and
                   regulations;
             (c)   A preliminary injunction, and upon final hearing a permanent
                   injunction, enjoining Defendant, its agents, employees and any
                   persons acting in concert with Defendant, from: (i) improperly
                   using or misappropriating, directly or indirectly, the Trademark
                   or any colorable imitation thereof or mark confusing similar
                   thereto; (ii) holding themselves out to the public as being an
                   authorized Plaintiff licensee or as being affiliated with or
                   sponsored by Plaintiff in any manner or committing any acts
                   likely to imply such a relationship or affiliation; (iii) passing off
                   their products and services as originating with or sponsored or
                   authorized by Plaintiff; and (iv) otherwise infringing Plaintiff’s
                   rights in the Trademark and competing unfairly with Plaintiff;
             (d)   An order requiring Defendant to deliver up to Plaintiff for
                   destruction all signs, advertisements, literature, business forms,
                   cards, labels, packages, wrappers, pamphlets, brochures,
                   receptacles, point of sale displays, and any other products in their
                   possession or under their control, as well as any products which




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                    bear any Trademarks or marks owned by Plaintiff or any
                    colorable imitation thereof or any mark confusingly similar
                    thereto and any plates, molds and other means of making the
                    same;
             (e)    A preliminary injunction, and upon final hearing a permanent
                    injunction, ordering Defendant to notify all of their existing and
                    prospective customers of the Court’s Order;
             (f)    An order requiring Defendant to file with this Court and serve on
                    Plaintiffs within thirty (30) days after the entry of an injunction
                    in this cause, a written report under oath setting forth in detail the
                    manner and form in which Defendant has complied with the
                    injunction;
             (g)    Actual and consequential damages proximately caused by
                    Defendant’s actions including, without limitation, Defendant’s
                    profits and any damages sustained by Plaintiff;
             (h)    Prejudgment interest and the costs of this action; and
             (i)    Such further relief as this Court deems proper.

                                  COUNT IV
                             UNJUST ENRICHMENT

      44.    Plaintiffs repeat and reallege each and every allegation of paragraphs 1

through 43 above as if fully set forth herein.

      45.    This count alleges that Defendant has been unjustly enriched by their

illegal and improper actions.

      46.    Defendant has controlled, misappropriated and used the Trademark for

their own advantage.




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      47.    Through the unlawful and improper conduct described above,

Defendant has, at the expense of Plaintiff, been unjustly enriched and should not be

entitled to retain those benefits.

      48.    Plaintiff is entitled to restitution of the amount by which Defendant was,

and continues to be, unjustly enriched, and Defendant should be estopped from

inequitably retaining such benefits.

      WHEREFORE, Plaintiff Jovo, Inc. demands judgment against Defendant

My Pillow, Inc., as follows:

             (a)    A declaration that Plaintiff is the owner of the entire right, title,
                    and interest in and to the Trademark and Registration;
             (b)    A declaration that Plaintiff’s rights in the Trademark and
                    Registration are valid, enforceable, and have been infringed and
                    misappropriated by Defendant, and that Defendant has violated
                    other relevant federal laws and regulations;
             (c)    A preliminary injunction, and upon final hearing a permanent
                    injunction, enjoining Defendant, its agents, employees and any
                    persons acting in concert with Defendant, from: (i) improperly
                    using or misappropriating, directly or indirectly, the Trademark
                    or any colorable imitation thereof or mark confusing similar
                    thereto; (ii) holding themselves out to the public as being an
                    authorized Plaintiff licensee or as being affiliated with or
                    sponsored by Plaintiff in any manner or committing any acts
                    likely to imply such a relationship or affiliation; (iii) passing off
                    their products and services as originating with or sponsored or
                    authorized by Plaintiff; and (iv) otherwise infringing Plaintiff’s
                    rights in the Trademark and Registration and competing unfairly
                    with Plaintiff;




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       (d)    An order requiring Defendant to deliver up to Plaintiff for
              destruction all signs, advertisements, literature, business forms,
              cards, labels, packages, wrappers, pamphlets, brochures,
              receptacles, point of sale displays, and any other products in their
              possession or under their control, as well as any products which
              bear any Trademarks or marks owned by Plaintiff or any
              colorable imitation thereof or any mark confusingly similar
              thereto and any plates, molds and other means of making the
              same;
       (e)    A preliminary injunction, and upon final hearing a permanent
              injunction, ordering Defendant to notify all of their existing and
              prospective customers of the Court’s Order;
       (f)    An order requiring Defendant to file with this Court and serve on
              Plaintiff within thirty (30) days after the entry of an injunction in
              this cause, a written report under oath setting forth in detail the
              manner and form in which Defendant has complied with the
              injunction;
       (g)    An accounting of profits made by Defendant as a result of the
              acts complained of herein;
       (h)    The imposition of a constructive trust on all monies derived from
              Defendant’s use of the Trademark and Registration, and all
              monies and property diverted by Defendant from Plaintiff as
              identified herein;
       (i)    Prejudgment interest and the costs of this action; and
       (j)    Such further relief as this Court deems proper.

                    DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial for all issues so triable as a matter of right.



Respectfully submitted this 9th day of June, 2020.




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